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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF FLORIDA

                                               CASE NO.: 1:19-CV-00255


        LAURENCE COTMAN,

        Plaintiff,

        v.

        UNIVERSITY OF FLORIDA

        Defendant.

                                             ______________/

                                   VERIFIED COMPLAINT
                                    NATURE OF ACTION

       Plaintiff, LAURENCE COTMAN (“Mr. Cotman” or “Plaintiff”) by and through his

undersigned attorney, sue Defendant University of Florida (“Defendant”)

for damages in excess of $ 75, 000 for violations of his civil rights occurring

during his employment relationship with Defendant. Plaintiff sue Defendant under

Title VII of the Civil Rights Act of 1964 and 1991, as amended, 42 U.S.C. Section 2000e et seq.

(“Title VII”), the Civil Rights Act of 1871, as amended, and the Florida Civil Rights Act of

1992, Section 760.01 et seq., Florida Statutes (“FCRA”).

                                JURISDICTION AND VENUE

       1.      This Court’s jurisdiction is invoked pursuant to 28 U.S.C. Sections 451, 1331,

1337 and 1343. This action arises under 42 U.S.C. Sections 2000e et seq..

       2.      This Court has supplemental jurisdiction over Plaintiffs

state law claims pursuant to 28 U.S.C. Section 1367.

       3.     Plaintiff has exhausted his administrative remedies.


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Plaintiff filed a charge of discrimination with the United States Equal Employment Opportunity

Commission (“EEOC”)

and on or about October 2019, the Plaintiff received the right to sue letter.

        4. All conditions precedent to institution of this action by Plaintiff have been

fulfilled.

        5.     Pursuant to 28 U.S.C. Section 1391, venue of this action is proper in the Northern

District of Florida because all of the alleged unlawful acts complained of herein occurred in

Northern District of Florida.

                                              PARTIES

        6.      At all times material hereto, Defendant continuously has been doing

business in the State of Florida and the City of Gainesville, and continuously has had at least 15

employees. At all times material hereto, Defendant continuously has been an employer engaged

in an industry effecting commerce within the meaning of Title VII and the Florida Civil Rights

Act. See 42 U.S.C. Section 2003 et seq., and Section 760.02(7), Florida Statutes.

        7.      Plaintiff is a natural person whose national origin is Haitian and now is

residing in Alachua, County, Florida. At all times material hereto, Plaintiff was employed by

Defendant during the alleged facts as set forth in this Complaint

   FACTUAL ALLEGATIONS AS PERTAINING TO PLAINTIFF REGARDING THE

                                   HOSTILE ENVIRONMENT

        8.   The Plaintiff suffered a hostile work environment at the hands of Management and

Supervisors.     That comments were made directly to the Plaintiff by

Defendant employees, and to others about the Plaintiff, such as: employee, Jason Stewart
(“Stewart”), and Vincent Grimm (“Grimm”),

             Plaintiff was subjected as follows:



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             A) Stewart used his position to threaten the Plaintiff with firing due to his national
                origin and using his Haitian origin as a basis in

treatment of Plaintiff;

             B) Stewart and Grimm subjected the Plaintiff to a hostile work environment with
                insults relating to his national origin, and

using that for assignments which were not given to others;

        C) Grievances were filed as direct retaliation of complaints Plaintiff made to
Management.


       9.         The hostile work environment continued until present.

       10.      These words of hostility caused severe emotional distress of the Plaintiff; which

caused him to lose sleep and other physical problems suffered and continues to suffer.


  FACTUAL ALLEGATIONS AS PERTAINING TO PLAINTIFF REGARDING THE

                       DISPARATE TREATMENT OF THE PLAINTIFF



       11.       The Plaintiff was not given access to the following equipment:

                a)   Controls of the AC units
                b)   Vacuum Pumps
                c)   Scales
                d)   Micrometer


       These employees were given access, name and race (and national origin) :

                Doug Mason (White Male)
                George Kehnan (White Male)
                Andrew Phelps (White Male)
                Mathew Brillhart (White Male)




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       12. Comparators were given the opportunity to use equipment, but Plaintiff was not
          causing hardship.

       13. The Plaintiff has suffered and continuous to suffer emotional distress and damages

as a result of these intentional discriminatory practices of the Defendant.

       14.      That the Plaintiff is responsible for the reasonable attorney fees to the undersigned.

                                                                                      COUNT I
                          DEFENDANT HAS VIOLATED TITLE VII
                                 (Disparate Treatment)

       15.      Plaintiff adopts and realleges paragraphs 1-14 above as if incorporated herein.

       16.      Plaintiff is a member of a protected class because of his national origin.

       17.      The Defendant is an employer that employs over 50 people, and is subject to 42

U.S.C. Section 2000e et seq.

       18.      That the Plaintiff throughout their tenure with Defendant suffered disparate

treatment in the terms and conditions of his employment from being denied

use of equipment as described above in paragraphs due his national origin.

       19.      That his comparators were able to use equipment, this disparity as described
             above paragraphs

12-15 above.

       20. The effect of the actions complained of as aforementioned has been to deprive


the Plaintiff of equal employment opportunities, and otherwise to adversely affect his status as

employees because of his national origin.

       21.      The unlawful employment practices complained of were intentional.

       22.      As a direct and proximate result of Defendant’s unlawful employment practices,

the Plaintiff was emotionally harmed, suffered, and will continue to suffer, a loss of wages and

other employment benefits a loss of earning capacity, damages to his professional reputation, a



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loss of dignity, a loss of the enjoyment of life, embarrassment, humiliation, and other forms of

mental anguish and distress.

       Wherefore, Plaintiff requests this Court issue an order against Defendant awarding the

Plaintiff compensatory damages, lost back pay, attorney’s fees and costs, together with such

other relief as this Court deems just and proper.

                                     COUNT II
                         DEFENDANT HAS VIOLATED TITLE VII
                                (Hostile Environment)

       23.      Plaintiff adopts and realleges paragraphs 1-15 above as if incorporated herein.

       24.     Defendant discriminated against the Plaintiff

because of his national origin and created a hostile work environment as described in above

paragraphs by creating, tolerating and fostering a hostile work environment.

       25.    The Plaintiff was subject to numerous national origin based derogatory comments,

and other abusive disciplinary actions based upon his national origin.

       26.     The Plaintiff is a member of protected class. That the Plaintiff repeatedly

complained to management about the unwelcome harassment, but management and supervisors

took no steps to abate the harassment, and only continued the discrimination against him.

        27.   The Plaintiff suffered severe and pervasive hostile environment to affect the terms

and conditions of Plaintiff employment, and to create an intimidating, hostile, and offensive

work environment in violation of Section 703(a) of Title VII, 42 U.S.C. Section 2000e-2(a).

       28.    The effect of the actions complained of as aforementioned has been to deprive the

Plaintiff of equal employment opportunities, and otherwise to adversely affect his status as

employees because of his national origin.

       29.    The unlawful employment practices complained of were intentional.




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       30.     The unlawful employment practices against the Plaintiff were done with malice

or reckless indifference to the Plaintiff’s federally protected rights.

       31.     As a direct and proximate result of Defendant’s unlawful employment practices,

the Plaintiff was emotionally harmed, suffered, and will continue to suffer, a loss of wages and

other employment benefits, a loss of earning capacity damages to his professional reputation, a

loss of dignity, a loss of the enjoyment of life, embarrassment, humiliation, and other forms of

mental anguish and distress.

       Wherefore, Plaintiff requests this Court issue an order against Defendant awarding the

Plaintiff compensatory damages, lost back pay, attorney’s fees and costs, together with such

other relief as this Court deems just and proper.

                                                                                    COUNT III

                            CLAIM OF DISPARATE TREATMENT
                             IN VIOLATION OF THE FLORIDA
                                   CIVIL RIGHTS ACT

       32.     Plaintiff adopts and realleges paragraphs 1-15 above as if incorporated herein.

       33.     Defendant discriminated against Plaintiff

because of his national origin, in violation of the FCRA, by creating, tolerating and fostering a

race hostile and abusive work environment and disparate treatment.

       34.    That the Plaintiff suffered disparate treatment in the terms and

conditions of his employment and a hostile work environment as described above paragraphs.

       35.    The aforementioned unwelcome harassment comments were

sufficiently severe and pervasive to affect the terms and conditions of Plaintiff employment, and

to create an intimidating, hostile, and offensive work environment in violation of FCRA, Section

760.10, Florida Statutes.




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        36.    The effect of the actions complained of as aforementioned has been to deprive the

Plaintiff of equal employment opportunities, and otherwise to adversely affect his status as

employee because of his national origin in violation of FCRA.

        37.     The unlawful employment practices against the Plaintiff were done with malice or

reckless indifference to the Plaintiff’s freedom from discrimination within the State of Florida.

        38.     As a direct and proximate result of Defendant’s unlawful employment practices,

the Plaintiff was emotionally harmed, suffered, and will continue to suffer, a loss of wages and

other employment benefits,a loss of earning capacity, damages to his professional reputation, a

loss of dignity, a loss of the enjoyment of life, embarrassment, humiliation, and other forms of

mental anguish and distress.

        Wherefore, Plaintiff requests this Court issue an order against Defendant awarding the

Plaintiff compensatory damages, , attorney’s fees and costs, together with such other relief as

this Court deems just and proper.

                               DEMAND FOR TRIAL BY JURY


        Pursuant to Fed. R. Civ. P. 38(b), Plaintiff hereby demand a trial by jury on all issues

triable of rights by a jury.


                                                      Respectfully submitted,

                                                      Discrimination Law Center, P.A.
                                                      Attorney for Plaintiff
                                                      2255 Glades Road
                                                      Suite 324A
                                                      Boca Raton, Florida 33431
                                                      (561) 271-1769 tel.

                                                      By: /s/ Jay F. Romano
                                                          Jay F. Romano
                                                          Trial Attorney



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                                            Florida Bar No.: 0934097


VERIFICATION OF DOCUMENT

UNDER PENALTIES OF PERJURY, I DECLARE THAT I HAVE READ THE FOREGOING
VERIFIED COMPLAINT TO THE
AND THAT THE FACTS STATED ARE TRUE AND CORRECT.


_________________
Plaintiff




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